         Case 08-50011           Doc 45        Filed 07/10/13 Entered 07/10/13 07:11:28                      Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF NORTH CAROLINA
                                         WILKESBORO DIVISION

In Re:                                                                                                   Case No: 08-50011
      JOSE J SANTILLAN-RAMOS                                                                      SSN#1 - XXX-XX-1377
      SANDRA B SANTILLAN-RAMOS                                                                    SSN#2 - XXX-XX-9323
      2483 BOONE TRAIL
      NORTH WILKESBORO, NC 28659                                                                       Judge: Laura T. Beyer

                                 CHAPTER 13 FINAL REPORT AND ACCOUNT
                                              COMPLETED
This Case was                                                         The Plan was
Commenced on 01/07/2008                                               Confirmed on 06/03/2008

   The Trustee has maintained a detailed record of all receipts, including the source or other identification of
each receipt, and of all disbursements, and they are incorporated by reference in this report.


RECEIPTS: Amounts paid to Trustee by or for the Debtors for the benefit of Creditors: $24,000.00
                                       Plan Base = $24,000.00

                              CLAIMS AND DISTRIBUTIONS TO DATE
  Trustee    Clerk                     Payee                            Class              Claim         Principal   Interest
  Claim #   Claim #                                                                       Amount           Paid        Paid
   TTE                TRUSTEE COMPENSATION                                                 1,660.54       1,660.54
    1                 Thomas C Flippin                         B-Base Attorney Fee(s)      1,440.00       1,440.00       0.00
    2                 Thomas C Flippin                         B-Base Attorney Fee(s)      1,238.00       1,238.00       0.00
    6          6      JPMorgan Chase Bank NA                   M-Mortgage/Lease                 0.00          0.00       0.00
    7          6      JPMorgan Chase Bank NA                   N-Mortgage/Lease Arrears   12,261.73      12,261.73   3,297.39
    11         4      WILKES COUNTY TAX COLLECTOR              P-Priority                    288.31         288.31     140.96
    3          2      Allied Financial Services                S-Secured-Pro-Rata          1,459.51       1,459.51     480.32
    4                 Citifinancial                            S-Secured-Pro-Rata               0.00          0.00       0.00
    5                 Danny Clanton dba Clanton Bail Bonding   S-Secured-Pro-Rata               0.00          0.00       0.00
    8          3      JPMorgan Chase Bank NA                   U-Unsecured                70,350.90       1,516.97       0.00
    9                 Wilkes Regional Medical Center           U-Unsecured                      0.00          0.00       0.00
    10                Wilkes Regional Medical Center           U-Unsecured                      0.00          0.00       0.00
    12                AFNI                                     U-Unsecured                      0.00          0.00       0.00
    13                ALLIED INTERSTATE INC                    U-Unsecured                      0.00          0.00       0.00
    14                ALLIED INTERSTATE INC                    U-Unsecured                      0.00          0.00       0.00
    15                Ameritox Ltd                             U-Unsecured                      0.00          0.00       0.00
    16                ASSOC/CITI                               U-Unsecured                      0.00          0.00       0.00
    17                BOOMER MEDICAL CENTER                    U-Unsecured                      0.00          0.00       0.00
    18                CATAWBA VALLEY MEDICAL CENTER            U-Unsecured                      0.00          0.00       0.00
    19                Ccb                                      U-Unsecured                      0.00          0.00       0.00
    20                Creditsol                                U-Unsecured                      0.00          0.00       0.00
    21                Davis Regional Medical Center            U-Unsecured                      0.00          0.00       0.00
    22                Debt Recovery Solution                   U-Unsecured                      0.00          0.00       0.00
    23                First National Collection Bureau Inc     U-Unsecured                      0.00          0.00       0.00
    24                FIRST PREMIER BANK                       U-Unsecured                      0.00          0.00       0.00
    25                Firstpoint Collection Resources Inc      U-Unsecured                      0.00          0.00       0.00
    26                FORSYTH MEDICAL CENTER                   U-Unsecured                      0.00          0.00       0.00
    27                Great Texas Emergency Consultants        U-Unsecured                      0.00          0.00       0.00
    28                IC SYSTEM INC                            U-Unsecured                      0.00          0.00       0.00
    29                Interstate Credit Coll                   U-Unsecured                      0.00          0.00       0.00
    30                Interstate Credit Coll                   U-Unsecured                      0.00          0.00       0.00
    31                Jon Barry and Associates                 U-Unsecured                      0.00          0.00       0.00
    32                Kross/Lieberman & Ston                   U-Unsecured                      0.00          0.00       0.00
    33                Lincare                                  U-Unsecured                      0.00          0.00       0.00
    34                MEDICAL REVENUE SERVICES                 U-Unsecured                      0.00          0.00       0.00
    35                Memorial Hermann                         U-Unsecured                      0.00          0.00       0.00
    36                NC Professional Cre                      U-Unsecured                      0.00          0.00       0.00
    37                NC Grange Mutual Insurance Company       U-Unsecured                      0.00          0.00       0.00
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Case No. 08-50011           JOSE J SANTILLAN-RAMOS & SANDRA B SANTILLAN-RAMOS
  Trustee     Clerk                      Payee                             Class            Claim       Principal   Interest
  Claim #    Claim #                                                                       Amount         Paid        Paid
   TTE                 TRUSTEE COMPENSATION                                                 1,660.54     1,660.54
    38                 OMNIUM WORLDWIDE INC                        U-Unsecured                   0.00        0.00       0.00
    39                 OXFORD COLLECTION SERV                      U-Unsecured                   0.00        0.00       0.00
    40                 PARK DANSAN COLLECTIONS                     U-Unsecured                   0.00        0.00       0.00
    41                 Physicians Asset Recovery                   U-Unsecured                   0.00        0.00       0.00
    42                 Piedmont Community Physicians PC            U-Unsecured                   0.00        0.00       0.00
    43                 Piedmont Imaging Inc                        U-Unsecured                   0.00        0.00       0.00
    44                 Presbyterian Regional Healthcare            U-Unsecured                   0.00        0.00       0.00
    45                 Stallings Fin Group                         U-Unsecured                   0.00        0.00       0.00
    46                 Statesville Pain Associates PC              U-Unsecured                   0.00        0.00       0.00
    47                 Surburban Credit Corp                       U-Unsecured                   0.00        0.00       0.00
    48          1      Triad Radiology Associates                  U-Unsecured                   4.85        0.00       0.00
    49                 VALLEY RADIOLOGY ASSOCIATES                 U-Unsecured                   0.00        0.00       0.00
    50                 Wake Forest University Baptist Medical      U-Unsecured                   0.00        0.00       0.00
    51                 Wake Forest University Physicians           U-Unsecured                   0.00        0.00       0.00
    52                 West Wilkes Medical Center                  U-Unsecured                   0.00        0.00       0.00
    53                 WILKES ANESTHESIA ASSOCIATES                U-Unsecured                   0.00        0.00       0.00
    54                 Wilkes Regional Medical Center              U-Unsecured                   0.00        0.00       0.00
    55                 Winston Neurology PA                        U-Unsecured                   0.00        0.00       0.00
    56          5      LVNV FUNDING LLC                            U-Unsecured             10,029.33       216.27       0.00
                                                                           Totals          $98,733.17   $20,081.33 $3,918.67


    WHEREFORE, your Petitioner prays that a Final Decree be entered discharging Steven G. Tate as
Trustee and releasing Steven G. Tate and his surety from any and all liability on account of these proceedings,
and for such other and further relief as is just.
                    CERTIFICATE OF SERVICE
                                                                          /s/ Steven G. Tate
The parties whose names and addresses are listed below were
served by United States first class mail, postage prepaid on July 10,     Steven G. Tate, Trustee
2013.


                                    S.   Henderson
                                    Office of the Chapter 13 Trustee

JOSE J SANTILLAN-RAMOS & SANDRA B SANTILLAN-RAMOS, 2483 BOONE TRAIL, NORTH WILKESBORO, NC 28659


Total Served: 1
